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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

In re: SANDERS, CONNIE                                   §         Case No. 18-62370-WLH
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                           NOTICE OF AMENDED TRUSTEE’S FINAL REPORT AND
                                  APPLICATIONS FOR COMPENSATION
                                   AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                         1340 Richard B. Russell Bldg.
                                            75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        This Notice amends a prior notice dated August 4, 2021 and provides updated hearing information for
the Trustee’s Final Report and Applications for Compensation.

        Please take further notice that the Court will hold a hearing on the Trustee’s Final Report and
Applications for Compensation in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 10:30 a.m. on September 23, 2021.

       This matter will be called telephonically; if the matter is to be heard by the Judge, it will be heard at the
conclusion of the calendar call and the parties may appear in person or on video. Please check the Judge’s
website under the “Hearing Information“ tab for more information.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below

Date Mailed: 08/13/2021                                      By:: /s/ S. Gregory Hays
                                                                                Chapter 7 Trustee

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S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

In re:SANDERS, CONNIE                                       §      Case No. 18-62370-WLH
                                                            §
                                                            §
                                                            §
                       Debtor(s)


                            SUMMARY OF AMENDED TRUSTEE’S FINAL REPORT
                               AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                         50,000.00
                 and approved disbursements of:                                    $                            247.44
                 leaving a balance on hand of1:                                    $                         49,752.56

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                 49,752.56

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - S. Gregory Hays                                              5,750.00              0.00         5,750.00
  Trustee, Expenses - S. Gregory Hays                                             57.33              0.00            57.33
  Accountant for Trustee, Fees - Hays Financial Consulting,                    3,450.00              0.00         3,450.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                              101.16              0.00           101.16
  Consulting, LLC
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                     50,514.50               0.00       31,666.56
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                   1,272.37              0.00         1,272.37
  Gregory LLP

          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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                  Total to be paid for chapter 7 administrative expenses:                  $             42,297.42
                  Remaining balance:                                                       $              7,455.14

             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total             Interim       Proposed
                                                                     Requested         Payments to   Payment
                                                                                       Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:              $                  0.00
                  Remaining balance:                                                       $              7,455.14

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $1,252.17 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment
  1P-1       Internal Revenue Service                         0.00                      0.00                   0.00
  1P-2       Internal Revenue Service                     1,252.17                      0.00             1,252.17

                                               Total to be paid for priority claims:       $              1,252.17
                                               Remaining balance:                          $              6,202.97

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $5,976.08 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment
  1U-1a      Internal Revenue Service                         0.00                      0.00                   0.00
  1U-2a      Internal Revenue Service                       434.20                      0.00                434.20
  2          Quantum3 Group LLC                           1,022.73                      0.00             1,022.73
  3          Capital One Bank (USA), N.A.                   517.16                      0.00                517.16
  4          Directv, LLC                                   560.63                      0.00                560.63
  5          PYOD, LLC                                    3,441.36                      0.00             3,441.36




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                     Total to be paid for timely general unsecured claims:              $                5,976.08
                     Remaining balance:                                                 $                  226.89

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                     of Claim                 to Date              Payment
  6          William Brannen                                   0.00                  0.00                     0.00
  7          King III SBW LLC                                  0.00                  0.00                     0.00
  8          KMMP Homes LLC                                    0.00                  0.00                     0.00

                     Total to be paid for tardily filed general unsecured claims:       $                    0.00
                     Remaining balance:                                                 $                  226.89

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $226.89 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 100.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                     of Claim                 to Date              Payment
  1U-1b      Internal Revenue Service                          0.00                  0.00                     0.00
  1U-2b      Internal Revenue Service                        226.89                  0.00                 226.89

                                              Total to be paid for subordinated claims: $                  226.89
                                              Remaining balance:                        $                    0.00




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                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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